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   4                                                               April 16, 2019

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   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
   10                                WESTERN DIVISION
   11   Nichia Corporation,                     Case No. 8:16-cv-00545-SJO-MRW
   12              Plaintiff and
                   Counterclaim-Defendant,      [Proposed] Order Vacating the Court’s
   13                                           Claim Construction Order, Summary
              v.                                Judgment Orders, and Order
   14
        VIZIO, Inc.,                            Regarding Pretrial Motions and Motion
   15                                           for Reconsideration
                   Defendant and
   16              Counterclaim-Plaintiff.
   17

   18         The Court, having considered the parties’ Joint Stipulation for Vacatur of the
   19   Court’s Claim Construction Order, Summary Judgment Orders, and Order
   20   Regarding Pretrial Motions and Motion for Reconsideration, and for good cause
   21   appearing, hereby vacates the claim construction order (D.I. 127), summary
   22   judgment orders (D.I. 105 and 345), and order regarding the parties’ pretrial
   23   motions and Nichia’s motion for reconsideration (D.I. 367).
   24

   25   IT IS SO ORDERED:
   26

   27   Date: April 16, 2019                   _________________________
                                                    Honorable S. James Otero
   28                                               United States District Judge
